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                                                                                      Thursday, 17 May, 2018 04:21:08 PM
                                                                                            Clerk, U.S. District Court, ILCD

                                     UNITED STATES DISTRICT COURT
                                  FOR THE CENTRAL DISTRICT OF ILLINOIS


JERRY LEE LEWIS,                                                          )
                                                                          )
                                                                          )
              Plaintiff,                                                  )
                                                                          )
              v.                                                          )     18-CV-3052
                                                                          )
MICHELLE OLSON,                                                           )
DAN FRY, KIRK,                                                            )
MR. BANTA,                                                                )
                                                                          )
              Defendants.                                                 )
                                                                          )

                                                          MERIT REVIEW OPINION

              Plaintiff filed this case pro se from the Illinois River

Correctional Center. The case is before the Court for a merit review

pursuant to 28 U.S.C. § 1915A.1 This statute requires the Court to

review a complaint filed by a prisoner to identify the cognizable

claims and to dismiss part or all of the complaint if no claim is

stated.

              In reviewing the Complaint, the Court accepts the factual

allegations as true, liberally construing them in Plaintiff's favor.

                                                            
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  A prisoner  who has had three prior actions dismissed for failure to state a claim or as frivolous or malicious can 
no longer proceed in forma pauperis (without prepaying the filing fee in full) unless the prisoner is under 
“imminent danger of serious physical injury.”  28 U.S.C. § 1915(g). 

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Turley v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013). However,

conclusory statements and labels are insufficient. Enough facts

must be provided to "'state a claim for relief that is plausible on its

face.'" Alexander v. U.S., 721 F.3d 418, 422 (7th Cir. 2013)(quoted

cite omitted).

     Plaintiff alleges that Defendants Kirk and Fry have prevented

Plaintiff from using the grievance procedure by taking Plaintiff’s

grievances and not processing them. Defendant Fry also allegedly

did nothing to assist Plaintiff in Plaintiff’s legal pursuits and put

Plaintiff in for a transfer in retaliation for a lawsuit Plaintiff had

filed. The grievances that Plaintiff was able to file were allegedly not

handled properly.

     The allegations against Defendants Kirk and Fry about

interfering with Plaintiff’s ability to use the prison grievance

procedure do not state a constitutional claim. Plaintiff does not

have a constitutional right to a prison grievance procedure. 

Antonelli v. Sheahan, 81 F.3d 1422, 1430 (7th Cir. 1996).




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     Plaintiff’s allegation that Defendant Fry arranged for Plaintiff’s

transfer in retaliation for another of Plaintiff’s lawsuits is too vague

and conclusory to state a claim. The only other lawsuit Plaintiff

had going at that time was a lawsuit about the conditions of

confinement in Western Illinois Correctional Center. Lewis v.

Watson, 17-cv-3175 (C.D. Ill.). The Warden is the only Defendant

in that case (17-cv-3175), and Plaintiff’s transfer did not occur until

months after that case was served, according to the dockets.

Plaintiff offers no facts which might allow an inference that

Defendant Fry knew about the case or was motivated by retaliation

about that case. Additionally, Plaintiff does not explain how a

transfer from Western Illinois Correctional Center to Illinois River

Correctional Center was adverse—both prisons are medium security

prisons, and Plaintiff allegedly received reading classes in Illinois

River, something which he was denied in Western. Surita v. Hyde,

665 F.3d 860, 878 (7th Cir. 2011)(First Amendment retaliation

“claims must be based on a concrete adverse action which would

deter a person of ‘ordinary firmness’ from exercising a First

Amendment right.”). Defendants Fry and Kirk will be dismissed

without prejudice for failure to state a claim against them.

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     Plaintiff makes no specific allegations against Officer Banta,

who is listed in the caption but not in the body of the complaint.

Officer Banta will also be dismissed, without prejudice.

     The last Defendant to discuss is Defendant Olson. Plaintiff

alleges that, in retaliation for Plaintiff’s grievances against

Defendant Olson, Defendant Olson allegedly interfered with

Plaintiff’s ability to access legal materials and either refused or was

unable to help Plaintiff with his legal research. Defendant Olson

also allegedly did not have complete books of statutes or the proper

legal forms that Plaintiff needed to pursue post-conviction relief.

     The Court cannot rule out a First Amendment claim against

Defendant Olson for interfering with Plaintiff’s access to legal

resources in retaliation for Plaintiff’s grievances against Defendant

Olson, though exactly what the retaliation was is unclear.

Defendant Olson cannot be liable solely because the law library is

inadequate. The Court also cannot rule out a First Amendment

claim against Defendant Olson for allegedly interfering with

Plaintiff’s ability to file for post-conviction relief. Ortloff v. United

States, 335 F.3d 652, 656 (7th Cir. 2003)(“[A] right to access-to-

courts claim exists only if a prisoner is unreasonably prevented

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from presenting legitimate grievances to a court; various resources,

documents, and supplies merely provide the instruments for

reasonable access and are not protected in and of themselves.”).

IT IS ORDERED:

     1)    Pursuant to its merit review of the Complaint under 28

U.S.C. § 1915A, the Court finds that Plaintiff states First

Amendment claims against Defendant Olson for retaliating against

Plaintiff for Plaintiff’s grievances and for interfering with Plaintiff’s

efforts to pursue post-conviction relief.

     2)    Defendants Fry, Kirk, and Banta are dismissed without

prejudice for failure to state a claim against them.

     3)    This case proceeds solely on the claims identified in this

paragraph. Any additional claims shall not be included in the

case, except at the Court’s discretion on motion by a party for good

cause shown or pursuant to Federal Rule of Civil Procedure 15.

     4)    This case is now in the process of service. Plaintiff is

advised to wait until counsel has appeared for the Defendant before

filing any motions, in order to give Defendant notice and an

opportunity to respond to those motions. Motions filed before

Defendant’s counsel has filed an appearance will generally be

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denied as premature. Plaintiff need not submit any evidence to the

Court at this time, unless otherwise directed by the Court.

     5)    The Court will attempt service on Defendant by mailing

the Defendant a waiver of service. The Defendant has 60 days from

the date the waiver is sent to file an Answer. If the Defendant has

not filed Answers or appeared through counsel within 90 days of

the entry of this order, Plaintiff may file a motion requesting the

status of service. After Defendant has been served, the Court will

enter an order setting discovery and dispositive motion deadlines.

     6)    With respect to a Defendant who no longer works at the

address provided by Plaintiff, the entity for whom that Defendant

worked while at that address shall provide to the Clerk said

Defendant's current work address, or, if not known, said

Defendant's forwarding address. This information shall be used

only for effectuating service. Documentation of forwarding

addresses shall be retained only by the Clerk and shall not be

maintained in the public docket nor disclosed by the Clerk.

     7)    The Defendant shall file an answer within 60 days of the

date the waiver is sent by the Clerk. A motion to dismiss is not an

answer. The answer should include all defenses appropriate under

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the Federal Rules. The answer and subsequent pleadings shall be

to the issues and claims stated in this Opinion. In general, an

answer sets forth Defendant’s position. The Court does not rule on

the merits of this position unless and until a motion is filed by the

Defendant. Therefore, no response to the answer is necessary or

will be considered.

     8)    This District uses electronic filing, which means that,

after Defense counsel has filed an appearance, Defense counsel will

automatically receive electronic notice of any motion or other paper

filed by Plaintiff with the Clerk. Plaintiff does not need to mail to

Defense counsel copies of motions and other papers that Plaintiff

has filed with the Clerk. However, this does not apply to discovery

requests and responses. Discovery requests and responses are not

filed with the Clerk. Plaintiff must mail his discovery requests and

responses directly to Defendants' counsel. Discovery requests or

responses sent to the Clerk will be returned unfiled, unless they are

attached to and the subject of a motion to compel. Discovery does

not begin until Defense counsel has filed an appearance and the

Court has entered a scheduling order, which will explain the

discovery process in more detail.

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     9)      Counsel for Defendants is hereby granted leave to depose

Plaintiff at his place of confinement. Counsel for Defendants shall

arrange the time for the deposition.

     10)     Plaintiff shall immediately notify the Court, in writing, of

any change in his mailing address and telephone number.

Plaintiff's failure to notify the Court of a change in mailing address

or phone number will result in dismissal of this lawsuit, with

prejudice.

     11)     If the Defendant fails to sign and return a waiver of

service to the clerk within 30 days after the waiver is sent, the

Court will take appropriate steps to effect formal service through

the U.S. Marshal's service on the Defendant and will require the

Defendant to pay the full costs of formal service pursuant to Federal

Rule of Civil Procedure 4(d)(2).

     12)     Within 10 days of receiving from Defendant’s counsel an

authorization to release medical records, Plaintiff is directed to sign

and return the authorization to Defendant’s counsel.

     13)     Plaintiff’s motion for the Court to appoint counsel is

denied (4), with leave to renew upon setting forth how far he has

gone in school, any jobs he has held inside and outside of prison,

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any classes he has taken in prison, any prior litigation experience

he has, and any other current litigation he has pending.

     14)   The clerk is directed to terminate Defendants Fry,

Kirk, and Banta.

     15)   The clerk is directed to enter the standard order

granting Plaintiff's in forma pauperis petition and assessing an

initial partial filing fee, if not already done, and to attempt

service on the Defendant pursuant to the standard procedures.

     16)   The Clerk is directed to enter the standard qualified

protective order pursuant to the Health Insurance Portability

and Accountability Act.

ENTERED: May 17, 2018

FOR THE COURT:
                               s/Sue E. Myerscough
                               SUE E. MYERSCOUGH
                           UNITED STATES DISTRICT JUDGE




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